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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


L A APPAREL, INC., a/k/a                      )
LA APPAREL, INC.,                             )       Civil Action No. 3:21-mc-00285
               Petitioner,                    )       (Hon. Malachy E. Mannion)
       v.                                     )       STIPULATION & ORDER
STRAIGHT A COMPANY, LP,                       )
               Respondent.                    )
----------------------------------------------)
       The undersigned counsel to the parties herein hereby stipulate to the

following, regarding the acceptance of service of the Petition to Confirm

Arbitration Award and accompanying papers, and a briefing schedule for

opposition and reply papers:

       1.      Counsel for the Respondent, the law firms of Warshaw Burstein, LLP

and Myers, Brier & Kelly, LLP hereby acknowledge that they have accepted

service of the Petition to Confirm Arbitration Award and Exhibits annexed thereto,

Memorandum of Law in support thereof, and Proposed Order, as of April 27, 2021.

       2.      The Respondent shall file any papers in opposition to the Petition by

May 28, 2021.

       3.      The Petitioner shall file any papers in reply to the Respondent’s

papers, by June 18, 2021.

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Date: April 29, 2021

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